                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF WISCONSIN
                             MILWAUKEE DIVISION
JULIE ROSENBAUM
1911 W. Bender Rd.
Glendale, WI 53209
                        Plaintiff,
v.                                            Case No. 21-cv-847

ZORN COMPRESSOR & EQUIPMENT, INC.
1335 E Wisconsin Ave
Pewaukee, WI 53072-3717

                                   Defendant.


                                                COMPLAINT



        NOW COMES Plaintiff, Julie Rosenbaum, through her attorneys, OVB Law & Consulting,

S.C., hereby alleges as follows:

                                                 PARTIES

    1. Plaintiff, Julie Rosenbaum, is citizen and resident of the United States and Milwaukee

        County, Wisconsin, and is 59 years old.

    2. Defendant, Zorn Compressor & Equipment, Inc. is an employer which, upon information

        and belief, engages in an industry affecting commerce and employs more than 20 employees.

        Defendant is a Wisconsin corporation with a principal place of business located at 1335 E.

        Wisconsin Ave, Pewaukee, WI 53072-3717.

                                    JURISDICTION AND VENUE

    3. This action arises under the Age Discrimination in Employment Act of 1967, 29 U.S.C.A. §§

        621 et seq and under the Americans with Disabilities Act of 1990, 42 U.S.C.A. § 12101 et

        seq.

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4. Jurisdiction over this claim is invoked pursuant to 28 U.S.C.A. § 1343(a)(4) and 29 U.S.C.A.

   §§ 216(b) and 626(c)(1).

5. Claims alleged against Defendant pursuant to the Age Discrimination in Employment Act

   and under the Americans with Disabilities Act were timely filed with the Equal Employment

   Opportunity Commission (“EEOC”), and the EEOC has since issued Plaintiff a Notice of

   Right to Sue Letter. (Exhibit A).

6. This action properly lies in the Eastern District of Wisconsin, Milwaukee Division pursuant

   to 28 U.S.C.A. § 1391(b) because the claim arose in this judicial district and both parties

   reside/have their principal place of business within this judicial district.

                                 STATEMENT OF FACTS

7. Plaintiff was employed by Defendant from on or about June 11, 2008, until March 3, 2021,

   as a full-time employee at the Defendant’s facility located at 1335 E. Wisconsin Avenue,

   Pewaukee, WI 53072 (the “Pewaukee Facility”).

8. Plaintiff initially was employed in the “Shipping and Receiving” position for Defendant (the

   “Initial Position”) but most recently was employed by Defendant as a “Parts

   Purchaser/Expeditor” immediately prior to her termination (the “Purchaser Position”),

   together (the “Positions”).

9. In the Purchaser Position, Plaintiff was the main purchaser at the Defendant’s Pewaukee

   Facility. Upon information and belief, only two other employees at Defendant’s Pewaukee

   Facility had purchasing authorization: Mr. Tom Yankee and Mr. Mike Cowell.

10. During Plaintiff’s employment with Defendant, which was well over 12 years, Plaintiff

   satisfactorily performed the duties of her job Positions and was qualified to perform the

   essential functions of the Positions, with or without reasonable accommodation.


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11. On or about January 2020, Plaintiff injured her knee while moving a box on Defendant’s

    warehouse floor during working hours.

12. Plaintiff notified her supervisor, Mr. Ramy Van Neck, a supervisory employee of

    Defendant’s, of her knee injury by orally telling him about the injury the same day the injury

    occurred.

13. Plaintiff’s knee injury became increasingly painful to the breaking point, May 2020, in which

    Plaintiff was unable to work without immense pain and required a cane to assist her in

    walking.

14. Plaintiff subsequently sought medical treatment and diagnosis for her knee injury. The initial

    diagnosis was “right knee pain, unspecified chronicity” and for such condition, Plaintiff was

    prescribed weekly physical therapy treatments.

15. Following the initial diagnosis of Plaintiff’s knee injury, Plaintiff notified Defendant of her

    knee impairment and proscribed physical therapy treatments, for which she required time off

    work, by emailing her supervisor, Mr. Van Neck.

16. Plaintiff’s knee injury, and associated pain and physical limitations, persisted from the date of

    injury through her termination, and still persists to this date.

17. Plaintiff’s knee injury and pain substantially limits one or more of her major life activities as

    Plaintiff has extreme difficulty walking and is unable to stand or walk for long periods of

    time. In sum, Plaintiff’s knee injury has substantially limited Plaintiff’s ability to walk, stand,

    bend, lift items, cook meals, care for her elderly mother, and perform many other daily tasks.

18. In November 2020, Plaintiff suffered a fall which caused additional injury to her knee. The

    fall made it even more difficult for Plaintiff to walk and perform work tasks such as standing

    for extended periods of time and lifting heavy items.




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19. Immediately after the fall, Plaintiff notified Defendant by emailing her supervisor, Mr. Van

    Neck, of the re-injury to her knee and her overall condition.

20. Defendant did not follow-up or inquire as to whether Plaintiff would need an

    accommodation for the injury.

21. Further, at no point during Plaintiff’s employment with Defendant did Defendant provide a

    reasonable accommodation for Plaintiff’s knee condition, nor did Defendant engage in an

    interactive process to determine a reasonable accommodation for Plaintiff.

22. Sometime near the end of the 2020 calendar year, Plaintiff was diagnosed with a life-

    threatening heart condition, pulmonary hypertension. Plaintiff’s pulmonary hypertension

    condition causes Plaintiff to randomly lose consciousness, suffer mood swings, suffer

    fatigue, and experience labored breathing.

23. Plaintiff’s heart condition substantially limits one or more of her major life activities as losing

    consciousness unexpectedly severely disrupts several life activities such as walking, driving,

    sleeping, breathing, and many other daily life activities which require a person to stay alert

    and conscious. Plaintiff’s heart condition is prolonged, severe, and long-term.

24. Defendant became aware that Plaintiff experienced fatigue and loss of consciousness at

    work in February 2020 when Defendant complained to Plaintiff about her “falling asleep at

    her desk” and embarrassed Plaintiff by having a conversation with her about her “sleep

    issues” in front of coworkers.

25. At the time of this conversation, Defendant was aware that Plaintiff’s drowsiness/lack of

    consciousness could be medically related. Defendant was further aware that if Plaintiff were

    having a medical issue, Defendant would legally need to provide her with an

    accommodation.




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26. Subsequently, on or around February 21, 2020, Mr. Van Neck, acting on behalf of

   Defendant, spoke with Plaintiff in person regarding her “sleep issues.” During this

   conversation Plaintiff informed Mr. Van Neck that she had a serious sleep issue which was

   in the process of being diagnosed by medical professionals.

27. Despite Plaintiff notifying Defendant of her disability, Defendant intentionally did not

   provide Plaintiff with paperwork which would have ascertained whether Plaintiff required an

   accommodation for her condition.

28. Instead, Defendant continued to punish Plaintiff for her condition, and the side effects she

   experienced at work due to her condition.

29. Then in January 2021 when Plaintiff received her diagnosis for her “sleep issues,” Plaintiff

   informed Defendant that she had pulmonary hypertension which caused several symptoms,

   including unexpected loss of consciousness, mood swings, fatigue, and labored breathing.

30. Despite Defendant’s knowledge of Plaintiff’s disability and exact diagnosis, Defendant did

   not engage in an interactive process with Plaintiff to determine if she needed an

   accommodation, nor did Defendant provide Plaintiff a reasonable accommodation for her

   disability.

31. In fact, at no point during Plaintiff’s employment did Defendant make any efforts to work

   with Plaintiff to provide any reasonable accommodations for Plaintiff’s life-threatening heart

   condition, nor did Defendant provide a reasonable accommodation for Plaintiff. Rather,

   Defendant repeatedly berated and punished Plaintiff for what Defendant alleged was

   Plaintiff sleeping at work, but was in actuality, Plaintiff losing consciousness due to her

   disability.

32. Not long after informing Defendant of the Plaintiff’s limitations due to her heart condition

   diagnosis and knee injury, Defendant terminated Plaintiff on or around March 3, 2021.


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  33. Defendant told Plaintiff that Plaintiff’s termination was due merely to a restructuring of

      positions and oversight of the fact that Plaintiff’s duties were already being performed by

      others. Defendant’s termination reason is purely pretextual.

  34. Upon information and belief, prior to Plaintiff’s termination no other employees were

      performing the same job duties as Plaintiff.

  35. Upon information and belief, following Plaintiff’s termination, Plaintiff’s job duties were

      given to Mr. Mike Cowell, a substantially younger individual with no heart conditions or

      knee injuries. Mr. Cowell had little to no experience performing Plaintiff’s job duties and had

      been employed by Defendant for only about two and a half years.

  36. Further, upon information and belief, no other employee at Defendant’s Pewaukee Facility

      was terminated around the time of Plaintiff’s termination due to “restructuring of positions.”

  37. Even if Defendant was truly just restructuring job positions and duties, then it still

      discriminated against Plaintiff in deciding to fire her over other employees, despite her

      seniority and experience. Rather than keeping Plaintiff (who had over 12 years of

      experience/seniority with Defendant) on in the position, Defendant chose to fire Plaintiff

      and instead keep the younger, healthier employee, Mr. Cowell (who in comparison only had

      about 2 ½ years of experience working for the Defendant).

  38. Defendant deliberately chose to fire a disabled, elderly employee and to replace her with a

      substantially younger, healthier employee.

  39. As a direct result of Defendant’s treatment, Plaintiff has suffered back pay losses, emotional

      distress, mental anguish, physical pain and discomfort, and humiliation.

FIRST CAUSE OF ACTION- Failure to Provide Reasonable Accommodation in Violation
              of the Americans with Disabilities Act for Plaintiff’s Knee Injury
  Plaintiff incorporates and realleges paragraphs 1-39.


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40. Plaintiff has several disabilities within the purposes of the Americans with Disabilities Act.

41. Plaintiff’s persistent knee injury substantially limits several major life activities, including but

    not limited to, standing, walking, bending, and lifting items.

42. Additionally, Plaintiff is disabled due to her life-threatening heart condition, pulmonary

    hypertension, as her heart condition substantially limits several major life activities, including,

    but not limited to, walking, standing, driving, and sleeping.

43. Defendant, through its officials and managers, was aware of Plaintiff’s disability due to her

    knee injury no later than May 2020.

44. Under the Americans with Disabilities Act of 1933, employers are required to make

    “reasonable accommodations to the known physical or mental limitations of an otherwise

    qualified individual.” 42 U.S.C.A. § 12112(b)(5).

45. Defendant neither engaged with Plaintiff at all regarding providing a reasonable

    accommodation, nor did Defendant ever provide Plaintiff with a reasonable accommodation

    for her knee condition. Even worse, Defendant was aware of its duty to provide reasonable

    accommodations in such circumstances, and yet, Defendant specifically chose not to provide

    an accommodation to Plaintiff, and even went so far as to avoid mentioning the possibility

    of accommodations to Plaintiff.

46. A reasonable accommodation may include “job restructuring, part-time or modified work

    schedules, reassignment to a vacant position. . . or other similar accommodations.” 42 U.S.C.

    § 12111(9)(B). Any of these reasonable accommodations could have aided the Plaintiff in

    being able to perform the essential functions of her job, yet Defendant provided none such

    reasonable accommodations.




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47. Because Defendant failed to make any attempt to make a reasonable accommodation for

   Plaintiff’s disability due to her knee injury, Defendant violated the Americans with

   Disabilities Act of 1990.

48. Defendant’s actions of failing to provide a reasonable accommodation to Plaintiff were

   intentional.

49. Because of Defendant’s failure to provide a reasonable accommodation for Plaintiff’s

   disability, Plaintiff has suffered damages in an amount to be determined at trial.

SECOND CAUSE OF ACTION- Failure to Provide Reasonable Accommodation in
   Violation of the Americans with Disabilities Act for Plaintiff’s Heart Condition
Plaintiff incorporates and realleges paragraphs 1-49.

50. Defendant, through its officials and managers, was aware of Plaintiff’s disability due to her

   pulmonary hypertension condition no later than January 2021.

51. Defendant neither engaged with Plaintiff at all regarding providing a reasonable

   accommodation, nor did Defendant ever provide Plaintiff with any reasonable

   accommodations for her heart condition.

52. Under the Americans with Disabilities Act of 1933, employers are required to make

   “reasonable accommodations to the known physical or mental limitations of an otherwise

   qualified individual.” 42 U.S.C.A. § 12112(b)(5).

53. A reasonable accommodation may include “job restructuring, part-time or modified work

   schedules, reassignment to a vacant position. . . or other similar accommodations.” 42 U.S.C.

   § 12111(9)(B). Any of these reasonable accommodations could have aided Plaintiff in being

   able to perform the essential functions of her job, yet Defendant provided none such

   reasonable accommodations.



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54. Because Defendant failed to make any attempt to make a reasonable accommodation for

   Plaintiff’s disability due to her heart condition, Defendant violated the Americans with

   Disabilities Act of 1990.

55. Because of Defendant’s failure to provide a reasonable accommodation for Plaintiff’s

   disability, Plaintiff has suffered damages in an amount to be determined at trial.

  THIRD CAUSE OF ACTION- Discrimination in violation of the Americans with
                          Disabilities Act
Plaintiff incorporates and realleges paragraphs 1-55.

56. Under the Americans with Disabilities Act of 1990, it is unlawful for an employer to

   “discriminate against a qualified individuals on the basis of disability in regard to job

   application procedures, the hiring, advancement, or discharge of employees, employee

   compensation, job training, and other terms, conditions, and privileges of employment.” 42

   U.S.C.A. § 12112(a).

57. In the twelve plus years that Plaintiff worked for Defendant, Plaintiff consistently

   sufficiently performed the duties of the Position and prior to Plaintiff’s disabilities.

58. After Plaintiff began exhibiting symptoms of her disabilities at work, Plaintiff was written up

   and complained to several times for “falling asleep at work.”

59. Even after Defendant became aware that Plaintiff’s fatigue and drowsiness at work was

   medically related, Defendant’s representatives and managers continued to reprimand and

   punish Plaintiff.

60. Defendant’s actions amount to unlawful discrimination against Plaintiff because Defendant

   took discriminatory actions against Plaintiff on the basis of Plaintiff’s disabilities, including

   humiliating her in front of coworkers and disciplining her because of the symptoms

   associated with Plaintiff’s disabilities.


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61. Further, Defendant additionally discriminated against Plaintiff on the basis of her disabilities,

    by terminating Plaintiff.

62. Plaintiff’s disabilities and impairments were a motivating factor in Defendant’s decision to

    terminate Plaintiff’s employment.

63. By terminating Plaintiff because of her disabilities, Defendant has violated the Americans

    with Disabilities Act of 1990.

64. Plaintiff has suffered damages as a result of Defendant’s unlawful actions in an amount to be

    determined at trial.

   FOURTH CAUSE OF ACTION- Unlawful termination in violation of the Age
                            Discrimination in Employment Act
Plaintiff incorporates and realleges paragraphs 1-39.

65. Under the Age Discrimination in Employment Act of 1967, it is unlawful for an employer

    “to discharge any individual or otherwise discriminate against any individual with respect to

    his compensation, terms, conditions, or privileges of employment, because of such

    individual’s age.” 29 U.S.C.A. § 623(a)(1).

66. Plaintiff is a member of a class protected by the Age Discrimination in Employment Act of

    1967 because she is older than 40 years of age.

67. Defendant deliberately chose to terminate Plaintiff over a substantially younger, “healthier”

    employee.

68. Defendant then went on to replace Plaintiff with that same substantially younger, “healthier”

    employee.

69. Plaintiff’s age was a motivating factor in Defendant’s decision to terminate Plaintiff’s

    employment.




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    70. Because Defendant discharged Plaintiff because of her age, Defendant has violated the Age

        Discrimination in Employment Act.

    71. Plaintiff has suffered damages as a result of Defendant’s unlawful actions in an amount to be

        determined at trial.

WHEREFORE, Plaintiff demands judgment against Defendant as follows:

    1. Declaration that Defendant’s conduct violated Plaintiff’s rights,

    2. Restore Plaintiff to her rightful position in the Parts Purchaser/Expeditor Position with

        Defendant, or in lieu of reinstatement, order front salary and benefits for the period

        remaining until normal retirement,

    3. Award Plaintiff back pay salary and fringe benefits up to the date of reinstatement or front

        salary and benefits accrual and prejudgment interest,

    4. Award Plaintiff liquidated damages in an amount double the back salary and fringe benefits

        award,

    5. Award Plaintiff compensatory damages for loss of future earnings, loss of benefits, and

        mental or emotional distress, as a result of the following damages suffered:

    6. Award Plaintiff punitive damages against Defendant,

    7. Award Plaintiff costs and attorneys’ fees, and

    8. Grant such other relief as it may deem just and proper.




Plaintiff demands trial by a jury of twelve of her peers.




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Dated this 15th day of July 2021.

                                                 OVB Law & Consulting, S.C.
                                                 Attorneys for Plaintiff

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